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 8   Attorneys for Defendants
     SAN MATEO COUNTY, DEPUTY CHRIS LAUGHLIN,
 9   and DEPUTY ERIC MICHEL

10

11                                 UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13

14   RICHARD EARL MAY,                                Case No. 3:16-cv-00252 LB

15                  Plaintiff,                        DEFENDANTS’ MOTION IN LIMINE NO.
                                                      6 TO EXCLUDE EVIDENCE RELATED TO
16         vs.                                        PLAINTIFF’S NOW DISMISSED MONELL
                                                      CLAIM
17   COUNTY OF SAN MATEO, DEPUTY CHRIS
     LAUGHLIN, ERIC MICHEL, and DOES 1 through
18   10, individually, Jointly and Severally,         Date:      May 18, 2017
                                                      Time:      1:00 p.m.
19                  Defendants.                       Dept:      Courtroom C, 15th Floor

20
                                                      THE HONORABLE LAUREL BEELER
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                                                      TRIAL DATE: June 5, 2017
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         Case No. 3:16-cv-00252 LB
          DEFENDANTS’ MOTION IN LIMINE NO. 6 TO EXCLUDE EVIDENCE RELATED TO PLAINTIFF’S
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 1                                            NOTICE OF MOTION
 2           PLEASE TAKE NOTICE on May 18, 2017, at 1:00 p.m., or as soon thereafter as the matter
 3   may be heard, before the Honorable Laurel Beeler, in Courtroom C of the above-captioned court, located

 4   at 450 Golden Gate Avenue, 15th Floor, San Francisco, CA, Defendants San Mateo County (“County”),

 5   Sheriff’s Deputy Chris Laughlin, and Sheriff’s Deputy Eric Michel (collectively, “Defendants”) will and

 6   hereby do move the court for an order prohibiting Plaintiff from presenting certain evidence at trial, in

 7   particular:

 8           Any documents or testimony related to Plaintiff’s now-dismissed Monell claim.
 9           This motion is based upon this Notice of Motion and Motion, the accompanying Memorandum of

10   Points and Authorities, and any other matters which the Court in its discretion may allow.

11                                                    MOTION
12           Defendants seek an order excluding any evidence relating to the County’s liability under Monell

13   v. New York City Department of Social Services, 436 U.S. 658 (1978), as the Court dismissed Plaintiff’s

14   Monell claim with prejudice. (See Dkt. 78.) Such evidence is not relevant to the remaining claims

15   arising from one law enforcement encounter, and Plaintiff’s attempt to introduce such information would

16   impermissibly mislead the jury and/or prejudice Defendants.

17   I.      INTRODUCTION
18           Plaintiff’s claims arise from a single incident the night of January 1, 2015 (the “Incident”). San

19   Mateo County Sheriff’s Deputies responded to a 911 call reporting a commercial burglary in progress.

20   Plaintiff had jumped a fence into a construction site and was seen on security cameras. When Deputies

21   arrived, Plaintiff refused to identify himself, show his hands, or comply with orders. Concerned for safety

22   and that Plaintiff was fleeing, Deputy Laughlin released his canine partner, Riggs, who bit Plaintiff’s

23   right leg. Plaintiff received approximately six stiches. Plaintiff’s sole remaining federal claim alleges

24   Deputy Laughlin used excessive force by deploying Riggs. Plaintiff’s state claims remain against

25   Deputies Laughlin and Michel. The County faces only vicarious liability for the state claims.

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           Case No. 3:16-cv-00252 LB               2
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 1   II.    ARGUMENT
 2          Evidence which is not relevant is not admissible at trial. Fed. R. Evid. 402. “‘Relevant evidence’

 3   means evidence having any tendency to make the existence of any fact that is of consequence to the

 4   determination of the action more probable or less probable than it would be without the evidence.” Fed.

 5   R. Evid. 401. And even if offered for some remotely relevant reason, “evidence may be excluded if its

 6   probative value is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

 7   misleading the jury, or by considerations of undue delay, waste of time, or needless presentation of

 8   cumulative evidence.” Fed. R. Evid. 403.

 9          During discovery, a substantial amount of evidence and testimony was adduced and otherwise

10   referenced by Plaintiff in support of his Monell claim as alleged in his First Amended Complaint. This

11   evidence concerns the County’s investigation of and response to the Incident, its policies and practices

12   regarding the supervision of the K-9 unit, its policies and practices regarding K-9 apprehensions and

13   bites generally, and records related to deployments and apprehensions other than in connection with the

14   Incident.

15          With the Monell claim dismissed and the County facing only vicarious liability, none of this

16   evidence is relevant to the only remaining claims in this case concerning the direct liability of Deputies

17   Laughlin and Michel. Issues concerning the County’s supervision of its K-9 handlers is immaterial to the

18   question of whether Deputies Laughlin and Michel acted lawfully in connection with the Incident.

19   Moreover, the admission of such evidence despite the dismissal of Plaintiff’s Monell claim would only

20   serve to confuse the jury and potentially permit the consideration of the County’s conduct in the

21   determination of individual deputies’ liability.

22          Accordingly, Defendants request that all evidence related to Plaintiff’s now-dismissed Monell

23   claim be excluded from trial, including specifically:

24                1. All expert opinions regarding the supervision of, investigation of, or response to the

25                   Incident or the sufficiency or adequacy of any Sheriff’s Office or County1 policy or
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       As the San Mateo County Sheriff’s Office is not a separate legal entity from the County capable of
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     being sued, for purposes of the instant motion, the two terms have the same meaning and are used
28   interchangeably.

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 1                 practice, including specifically the following opinions:

 2                     a. Deputy Laughlin’s supervisors, including but not limited to Sergeants Loubal and

 3                         Ramos, failed to reasonably supervise or investigate the Incident or Deputy

 4                         Laughlin’s conduct during or after the Incident (see, e.g., Burwell Expert Report,

 5                         attached hereto for reference as Exhibit A, at 8, 30, 34-35);

 6                     b. The Sheriff’s Office does not follow the standard of care regarding the removal of

 7                         the dog from the person being bit (see id. at 11-14);

 8                     c. The Sheriff’s Office has failed to address Riggs’ “problem with biting” (id., see

 9                         also id. at 35);

10                     d. The Sheriff’s Office failed to follow its own policies in connection with the

11                         Incident (see, e.g., id. at 13-14);

12                     e. The insufficiency of the Sheriff’s Office policies or practices regarding

13                         documentation of K-9 deployments (see id. at 35-36);

14                     f. The Sheriff’s Office has a pattern and practice of lack of supervision of the canine

15                         unit, allows the handler to deploy without canine supervisor approval, allows the

16                         canine handler to search for nonviolent offenders, and does not operate according

17                         to best practices for canine apprehensions (see id. at 37);

18                     g. The Sheriff’s Office fails to maintain bite ratios for its K-9s (see id. at 41-42);

19              2. The apprehension report prepared by Sergeant Ramos, use of force report, and any other

20                 documentation regarding the County’s investigation of and response to the Incident; and

21              3. The apprehension reports, deployment logs, and any other documentation of K-9 actions

22                 other than the deployment of Riggs in connection with the Incident.

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 1   III.    CONCLUSION
 2           Based on the foregoing, the Court should grant Defendants’ Motion in Limine No. 6 and exclude

 3   any evidence, testimony, and/or argument related to Plaintiff’s dismissed Monell claim.

 4   Dated: April 20, 2017                                  JOHN C. BEIERS, COUNTY COUNSEL

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 6                                                          By:               /s/
                                                                   Justin W. Mates, Deputy
 7                                                                 Brian E. Kulich, Deputy
 8                                                                 Margaret V. Tides, Deputy

 9                                                          Attorneys for Defendants
                                                            SAN MATEO COUNTY, DEPUTY CHRIS
10                                                          LAUGHLIN, and DEPUTY ERIC MICHEL

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             DEFENDANTS’ MOTION IN LIMINE NO. 6 TO EXCLUDE EVIDENCE RELATED TO PLAINTIFF’S
                                      NOW DISMISSED MONELL CLAIM
